     Case 2:12-cv-00724-RDP-TFM Document 49 Filed 01/22/13 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

LISA FOSTER, et al.;                       )
                                           )
      Plaintiffs;                          )
                                           )
v.                                         )     CIVIL ACTION NO:
                                           )     2:12-cv-724-MHT
JUDICIAL CORRECTION SERVICES,              )
INC., a corporation; and CORRECTION        )
HEALTHCARE COMPANIES, INC.,                )
a corporation;                             )
                                           )
      Defendants.                          )


            MOTION TO DISMISS SECOND AMENDED COMPLAINT

      Judicial Correction Services, Inc. (“JCS”) and Correctional Healthcare

Services, Inc. (“CHC”) move the Court to dismiss this lawsuit and the second

amended complaint because: (a) the second amended complaint fails to state a

claim upon which relief can be granted; (b) the second amended complaint is a

shotgun pleading; (c) the second amended complaint fails to satisfy the

pleading standards of Federal Rule of Civil Procedure 8(a) due to vagueness

and implausibility; (d) many of the claims asserted by Plaintiffs are not legally

recognizable; and (e) JCS and CHC are entitled to absolute quasi-judicial

immunity. Fed. R. Civ. P. 12(b)(6). This case has been pending since August

21, 2012.     A supporting memorandum of points and authorities is filed

concurrently with this motion which JCS and CHC incorporate with this

motion.
    Case 2:12-cv-00724-RDP-TFM Document 49 Filed 01/22/13 Page 2 of 3




     Respectfully submitted on January 22, 2013.



                                        /s/ Wayne Morse, Jr.
                                        Wayne Morse, Jr.

WALDREP STEWART
& KENDRICK, LLC
2323 Second Avenue North
Birmingham, AL 35203
Telephone: (205) 254-3216
Facsimile: (205) 324-3802


                                        /s/ Walter E. McGowan
                                        Walter E. McGowan

GRAY LANGFORD SAPP
MCGOWAN GRAY &
NATHANSON
PO Box 830239
Tuskegee, AL 36083
Telephone: (334) 727-4830
Facsimile: (334) 727-5877
wem@glsmgn.com


                                        /s/ Douglas N. Robertson
                                        Douglas N. Robertson

William P. Gray, Jr.
Douglas N. Robertson
GRAY & ASSOCIATES
3800 Colonnade Parkway
Suite 350
Birmingham, Alabama 35243
(205) 968-0900
(205) 968-6534
wgratty@aol.com

                                        Attorneys for Judicial Corrections
                                        Services, Inc. and Correctional
                                        Healthcare Companies, Inc.



                                    2
     Case 2:12-cv-00724-RDP-TFM Document 49 Filed 01/22/13 Page 3 of 3




                        CERTIFICATE OF SERVICE

      I hereby certify that on January 22, 2013, I electronically filed the
foregoing pleading with the Clerk of the Court using the CM/ECF system which
sends notification of such filing to the following attorneys of record. I also
hereby certify that I have mailed via U.S. Postal Service, the foregoing
document to any of the following who may not be CM/ECF participants.

W. Lewis Garrison, Jr.
Christopher B. Hood
Heninger Garrison Davis, LLC
2224 1st Avenue North
Birmingham, AL 35203

Kearney Dee Hutsler
Hutsler Law Firm
2700 Highway 280
Suite 320 West
Birmingham, AL 35223


                                          /s/ Wayne Morse, Jr.
                                          OF COUNSEL




                                      3
